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              EXHIBIT 1
CM/ECF - California Central District                                                     Page 1 of 2
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                  UNITED STATES DISTRICT COURT
     CENTRAL DISTRICT OF CALIFORNIA (Southern Division - Santa Ana)
               CIVIL DOCKET FOR CASE #: 8:22-cv-01712


BAKER et al v. KIA AMERICA, INC., a California              Date Filed: 09/16/2022
Corporation et al                                           Jury Demand: Plaintiff
Assigned to:                                                Nature of Suit: 370 Other Fraud
Case in other court: Orange County Superior Court, 30-      Jurisdiction: Diversity
                    02022-01277337
Cause: 28:1332 Diversity-Fraud
Plaintiff
MONIQUE E. BAKER                             represented by MONIQUE E. BAKER
                                                            PRO SE

Plaintiff
STEPHEN L. DESJARDINS                        represented by STEPHEN L. DESJARDINS
                                                            PRO SE


V.
Defendant
KIA AMERICA, INC., a California              represented by Kate Spelman
Corporation                                                 Jenner and Block LLP
                                                            515 South Flower Street Suite 3300
                                                            Los Angeles, CA 90071-2246
                                                            213-239-5100
                                                            Fax: 213-239-5199
                                                            Email: KSpelman@jenner.com
                                                            ATTORNEY TO BE NOTICED

Defendant
HYUNDAI MOTOR AMERICA, a                     represented by Kate Spelman
California Corporation                                      (See above for address)
                                                            ATTORNEY TO BE NOTICED


 Date Filed     # Docket Text
 09/16/2022     1 NOTICE OF REMOVAL from Orange County Superior Court, case number 30-
                  2022-01277337 Receipt No: ACACDC-34001880 - Fee: $402, filed by
                  Defendant HYUNDAI MOTOR AMERICA, a California Corporation, KIA




https://ecf.cacd.uscourts.gov/cgi-bin/DktRpt.pl?183609405367377-L_1_0-1                   9/19/2022
CM/ECF - California Central District                                                       Page 2 of 2
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                   AMERICA, INC., a California Corporation. (Attorney Kate Spelman added to
                   party HYUNDAI MOTOR AMERICA, a California Corporation(pty:dft),
                   Attorney Kate Spelman added to party KIA AMERICA, INC., a California
                   Corporation(pty:dft))(Spelman, Kate) (Entered: 09/16/2022)
 09/16/2022     2 CIVIL COVER SHEET filed by Defendants HYUNDAI MOTOR AMERICA, a
                  California Corporation, KIA AMERICA, INC., a California Corporation.
                  (Spelman, Kate) (Entered: 09/16/2022)
 09/16/2022     3 CERTIFICATION AND NOTICE of Interested Parties filed by Defendants
                  HYUNDAI MOTOR AMERICA, a California Corporation, KIA AMERICA,
                  INC., a California Corporation, identifying Kia America, Inc., Defendant /
                  Hyundai Motor America, Defendant / Kia Corporation, Defendant Kia America,
                  Inc.s parent / Hyundai Motor Company, Defendant Hyundai Motor Americas
                  parent / Monique E. Baker, Plaintiff / Stephen L. DesJardins, Plaintiff. (Spelman,
                  Kate) (Entered: 09/16/2022)
 09/16/2022     4 CERTIFICATION AND NOTICE of Interested Parties filed by Defendant
                  HYUNDAI MOTOR AMERICA, a California Corporation, identifying Kia
                  America, Inc., Defendant / Hyundai Motor America, Defendant / Kia
                  Corporation, Defendant Kia America, Inc.s parent / Hyundai Motor Company,
                  Defendant Hyundai Motor Americas parent / Monique E. Baker, Plaintiff /
                  Stephen L. DesJardins, Plaintiff. (Spelman, Kate) (Entered: 09/16/2022)
 09/16/2022     5 NOTICE of Related Case(s) filed by Defendants HYUNDAI MOTOR
                  AMERICA, a California Corporation, KIA AMERICA, INC., a California
                  Corporation. Related Case(s): 8:22-cv-01440, 8:22-cv-01548, 8:22-cv-01664,
                  8:22-cv-01674, (Spelman, Kate) (Entered: 09/16/2022)
 09/16/2022     6 PROOF OF SERVICE filed by Defendants HYUNDAI MOTOR AMERICA, a
                  California Corporation, KIA AMERICA, INC., a California Corporation, re Civil
                  Cover Sheet (CV-71) 2 , Certificate/Notice of Interested Parties, 4 ,
                  Certificate/Notice of Interested Parties, 3 , Notice of Removal (Attorney Civil
                  Case Opening), 1 , Notice of Related Case(s) 5 served on September 16, 2022.
                  (Spelman, Kate) (Entered: 09/16/2022)



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                                             09/19/2022 08:28:14
                    PACER
                                   jb0014       Client Code: 71273-10008
                    Login:
                                   Docket       Search        8:22-cv-01712 End date:
                    Description:
                                   Report       Criteria:     9/19/2022
                    Billable
                                   2            Cost:         0.20
                    Pages:




https://ecf.cacd.uscourts.gov/cgi-bin/DktRpt.pl?183609405367377-L_1_0-1                     9/19/2022
          Electronically Filed by Superior Court of California, County of Orange, 08/25/2022 02:53:52 PM.
                 Case MDL No.
30-2022-01277337-CU-NP-CXC           3052
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                                                     H. YAMASAKI,    Clerk09/19/22
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                                                                                              Ramirez,




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  9    Attorneys for Plaintiffs and the Class

 10    [Additional counsel listed on signature page]

 11
                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
 12
                                             COUNTY OF ORANGE
 13
        MONIQUE E. BAKER and STEPHEN L.                    Case No.:
 14     DESJARDINS, individually and on behalf
        of all others similarly situated,                  CLASS ACTION COMPLAINT FOR:
 15
                              Plaintiffs,                      1. Violation of the Unfair Competition
 16     v.                                                        Law, Cal. Bus. & Prof. Code §§17200,
                                                                  et seq.
 17     KIA AMERICA, INC., a California                        2. Violation of the False Advertising Law,
        Corporation, and HYUNDAI MOTOR                            Cal. Bus. & Prof. Code §§17500, et
 18     AMERICA, a California Corporation,                        seq.
                                                               3. Breach of Expressed Warranty;
 19                            Defendants.                     4. Breach of Implied Warranty;
                                                               5. Violation of Magnuson-Moss Warranty
 20                                                               Act , 15 U.S.C. § 2301, et seq.
                                                               6. Violation of the Michigan Consumer
 21                                                               Protection Act, M.C.L. §§ 445.901, et
                                                                  seq.
 22                                                            7. Violation of the Oklahoma Consumer
                                                                  Protection Act, 15 OK. Stat. § 15-751
 23
                                                           JURY TRIAL DEMANDED
 24

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                                                          1
       CLASS ACTION COMPLAINT
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 1
            Plaintiffs Monique E. Baker and Stephen L. DesJardins (“Plaintiffs”) brings this Class
 2
     Action Complaint against Defendants Kia America, Inc. and Hyundai Motor America,
 3
     (collectively “Defendants”), individually and on behalf of all others similarly situated, and
 4
     alleges upon personal knowledge as to his own acts and experiences and, as to all other matters,
 5
     upon information and belief:
 6
                                             INTRODUCTION
 7
            1.        This class action lawsuit is brought by Plaintiffs on behalf of all consumers who
 8
     purchased or leased Defendants’ Kia branded vehicles, model years 2011-2021, and Hyundai
 9
     branded vehicles, model years 2011-2021 (the “Defective Vehicles”). Each of these Defective
10
     Vehicles suffer from a defect which makes them easy to operate without the corresponding key
11
     or key fob (a small electronic device used typically in place of a key to unlock a door or start a
12
     vehicle). Because of this, the Defective Vehicles are easily stolen, and have been stolen at an
13
     alarming rate.
14
            2.        The defect arises from Defendants’ use of a USB interface within the vehicle
15
     ignition (the area where a key is normally inserted to start the vehicle): once a portion of the
16
     steering column is stripped away, a potential thieve needs only to insert any USB cable into the
17
     now exposed USB interface in the Defective Vehicles’ ignition (the “Defect”). The USB cable
18
     does not have to be connected to any device, other than the vehicle. This process only takes a
19
     few seconds and requires no specialized tools.
20
            3.        Defendants did not disclose this Defect, even though Defendants were aware of
21
     the existence of the Defect. Plaintiff and the Class would not have purchased or leased the
22
     Defective Vehicles or, alternatively, would have paid less, if the Defect had been disclosed.
23
            4.        Plaintiffs and members of the Class were injured by Defendants’ false, fraudulent,
24
     unfair, deceptive, and misleading practices. Plaintiffs seeks compensatory damages and equitable
25
     remedies for himself and members of the Proposed Class. Accordingly, Plaintiffs allege violations
26
     of the California False Advertising Law, the California Unfair Competition Law, the Michigan
27
     Consumer Protection Act, Oklahoma Consumer Protection Act, and the Magnuson-Moss
28
     Warranty Act (“MMWA”), as well as breaches of express and implied warranty.
                                                       1
     CLASS ACTION COMPLAINT
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 1                                             THE PARTIES

 2           5.      Plaintiff Monique E. Baker is a resident and citizen of Michigan. Plaintiff Baker

 3   owes a 2020 Kia Rio, which she purchased from an authorized Kia dealer in Oklahoma City,

 4   Oklahoma in 2020. Plaintiff Baker’s Kia Rio was broken into while parked in her driveway.

 5   The car had damages resulting from the brake-in. Plaintiff Baker reviewed information from

 6   Defendants’ websites and at the dealer before purchasing her Kia Rio. Plaintiff Baker was not

 7   aware of the Defect at the time of purchase.

 8           6.      Plaintiff Stephen DesJardins is a resident and citizen of Michigan.           Plaintiff
 9   DesJardins owns a 2016 Kia Optima, which he purchased from an authorized Kia dealer in
10   Dearborn, Michigan in 2017. Plaintiff DesJardins’s Kia Optima was stolen out of his son’s
11   driveway in Detroit, Michigan while he was visiting. The car was later recovered with damage
12   to the front and rear, a hole in the oil pan, and damage to the inside of the car. Plaintiff DesJardins
13   had to pay a $1,000.00 insurance deductible and other costs to get the car back and repaired.
14   Because this was Plaintiff DesJardins’s only car, its temporary loss was difficult, and forced
15   Plaintiff to incur additional transportation costs. Plaintiff DesJardins reviewed information from
16   Defendants’ websites and at the dealership before purchasing his Kia Optima.                  Plaintiff
17   DesJardins was not aware of the Defect at the time of purchase.
18           7.      Plaintiffs would not have purchased the car at issue had he known about the
19   Defect. Plaintiffs were injured by Defendants’ fraudulent and deceptive practices. Plaintiffs, and
20   other consumers, paid a premium price for their vehicles due to the misrepresentations and
21   omissions regarding the Defect. Had Defendants been truthful regarding the Defect, Plaintiffs and
22   other consumers would not have purchased the Products, or would have paid less for them.
23           8.      Defendant Kia America, Inc., is a California corporation that maintains its

24   principal place of business at 111 Peters Canyon Road, Irvine, California, 92606. Defendant Kia

25   America, Inc. is engaged in the business of testing, developing, manufacturing, labeling,

26   marketing, distributing, promoting, supplying and/or selling, either directly or indirectly, through

27   third parties and/or related entities, the Defective Vehicles.

28           9.      Defendant Hyundai Motor America, is a California corporation that maintains its
                                                        2
     CLASS ACTION COMPLAINT
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 1   principal place of business at 10550 Talbert Avenue, Fountain Valley, California 92708.

 2   Defendant Hyundai Motor America is engaged in the business of testing, developing,

 3   manufacturing, labeling, marketing, distributing, promoting, supplying and/or selling, either

 4   directly or indirectly, through third parties and/or related entities, the Defective Vehicles.

 5          10.      Based on information and belief, Defendants designed and engineered the

 6   Defective Vehicles at their Hyundai Kia Motors Design and Technical Center based in Irvine,

 7   California. Additionally, all marketing originated from Defendant’s headquarters within Orange

 8   County, California. Accordingly, Plaintiffs alleged that the Defect and all marketing related
 9   thereto, emanated from Orange County, California.
10                                    JURISDICTION AND VENUE

11          11.      Constitution, California Business and Professions Code § 17203, Code of Civil

12   Procedure §§ 382 and 410.10, and 15 U.S.C. § 2310(d)(1)(A).

13          12.      This Court has jurisdiction over Defendants because they are headquartered in the

14   State of California, regularly conducts business in this County and has extensive contacts with this

15   forum. Defendants purposefully availed themselves to California’s jurisdiction and designed,

16   marketed, and distributed the Defective Vehicles from this County.

17          13.      Venue is proper in this Court pursuant to Code of Civil Procedure § 395 because

18   Defendants are headquartered in this County and transacts substantial business here.

19                                     FACTUAL ALLEGATIONS

20          14.      Defendants both are collectively engaged in the business of testing, developing,

21   manufacturing, labeling, marketing, distributing, promoting, supplying and/or selling, either

22   directly or indirectly, through third parties and/or related entities, the Defective Vehicles.

23   Indeed, both Kia and Hyundai are significant shareholders in each other’s companies and

24   subsidiaries.   Accordingly, Kia and Hyundai often utilize each other’s technology and

25   engineering in their vehicles, including the Defective Vehicles.

26          15.      As noted above, the Defective Vehicles are able to be started without the key or

27   key fob, which generally restricts access to the vehicle to only the owner. Instead, the Defective

28   Vehicles can be started with any USB cable, inserted into a USB interface contained within the
                                                       3
     CLASS ACTION COMPLAINT
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 1   vehicle ignition. This USB interface can be accessed with a trivial amount of time and effort.

 2   This Defect is only in vehicles with a traditional physical key ignition.

 3            16.      Additionally, the Defective Vehicles are also targeted because they do not have

 4   safety features that would normally prevent these types of thefts. The Defective Vehicles are

 5   not equipped with a factory-installed anti-theft device called an immobilizer. These immobilizers

 6   use a chip (called a transponder) to authenticate a key against a vehicle's Electronic Control Unit

 7   (“ECU”). The ECU is a computer that controls the vehicle, including the vehicle’s powertrain.

 8   If the ECU does not detect the key, the vehicle will not start.
 9            17.      Federal Motor Vehicle Safety Standard (“FMVSS”) 114. FMVSS 114, S.5.1.1
10   requires that vehicles have a starting system that can only be activated with the key and prevents
11   the normal activation of the vehicle's engine or motor and either steering, or forward self-
12   mobility, of the vehicle, or both, when the key is removed. This regulation was specifically
13   enacted “to decrease the likelihood that a vehicle is stolen, or accidentally set in motion.” Yet,
14   the Defective Vehicles can be started without a key. This is a serious safety concern.
15            18.      Furthermore, it is reported thatsome of the windows are not connected to the
16   security system which thus allows a thief to break the window without the alarm being triggered.
17   All of these factors render the Defective Vehicles unsafe and unsuitable for their intended
18   purpose.

19            19.      Indeed, thieves across the United States are eyeing the Defective Vehiclesas easy

20   targets, thanks in part to viral social media posts. YouTube videos and other social media posts

21   show a step-by-step guide on how to start the Defective Vehicles with a USB cable. Indeed, in

22   most of these tutorials, potential thieves can fire up the vehicle and drive away in less than a

23   minute. In turn, this allows the Defective Vehicles to be started again at any time using the same

24   cable.

25            20.      The Defect has caused so many thefts that police in Milwaukee have begun to

26   hand out free steering wheel locks to owner of the Defective Vehicles. 1 In Milwaukee alone, the

27
        1
           https://www.jsonline.com/story/news/crime/2021/05/07/milwaukee-police-giving-away-
28
     steering-wheel-locks-kia-hyundai-owners/4987762001/.
                                                   4
     CLASS ACTION COMPLAINT
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 1   Defective Vehicles represent up to two-thirds of all vehicle thefts in the city, and have increased

 2   up to 2,500 percent year over year. 2

 3          21.      Defendants knew about the Defect, based on the fact that they engineered the

 4   Defective Vehicles in question, and were provided reports by consumers and law enforcement

 5   regarding the thefts of the Defective Vehicles due to the Defect, and also based on information

 6   provided by authorized repair centers regarding the Defect. Indeed, in the late 2000’s, Defendants

 7   added immobilizers and other safety equipment to some of their vehicles and noticed a sharp

 8   decline in the thefts of these vehicles. Nevertheless, Defendants continued to market the
 9   Defective Vehicles, with the Defect alleged herein.
10          22.      For example, beginning in 2009, Kia sought to add an immobilizer to its Amanti
11   line. Kia told the federal government that this device was similar to other devices which reduce
12   theft by 58 to 80 percent. See, Federal Register, Vol. 75, No. 6, page 1448, January 11, 2010.
13   Similarly, beginning in 2007, Hyundai sought to add an immobilizer to its Azera line. It told the
14   federal government that this device was similar to other devices which reduce theft by 58 to 80
15   percent. See, Federal Register, Vol. 72, No. 138, page 39662, July 19, 2007. Additionally,
16   Defendants knew that the Defective Vehicles could be started with a USB cable, because they
17   were specifically engineered with this common USB interface in the ignition. Thus, Defendants
18   had exclusive knowledge of the Defect.

19          23.      Defendants concealed or otherwise failed to disclose, reveal, or provide notice to

20   consumers, including Plaintiffs, in Defendants’ advertising, or otherwise, that the Defective

21   Vehicles are defective and are not fit for the ordinary purposes for which the Defective Vehicles

22   are to be used. This marketing emanated from Defendants’ California based headquarters.

23          24.      Defendants refuse to fix the Defective Vehicles, compensate consumers, or

24   otherwise take measures to solve the problems with their Defective Vehicles. This Defect causes

25   Plaintiffs and the Class damages, including costs associated with theft of the Defective Vehicles,

26   the diminished value of the Defective Vehicles due to the Defect, and the increased cost of

27
        2
          https://www.thedrive.com/news/how-thieves-are-stealing-hyundais-and-kias-with-just-a-
28
     usb-cable.
                                                 5
     CLASS ACTION COMPLAINT
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 1   maintaining the Defective Vehicles, including higher insurance costs. Indeed, the Defective

 2   Vehicles are now known to be easy to steal and unsafe, making them worth less than they would

 3   be if they did not have the Defect.

 4          25.     Defendants’ 2022 model vehicles do not have the Defect.

 5          26.     Plaintiffs and Class Members would not have purchased or leased the Defective

 6   Vehicles or would have paid less for the Defective Vehicles if they were aware of the Defect.

 7   Accordingly, Plaintiffs and Class Members paid more than they would have otherwise paid had

 8   the Defect been disclosed. Defendants intended for Plaintiffs and the Class Members to be
 9   deceived or misled. Defendants’ deceptive and misleading practices proximately caused harm to
10   Plaintiffs and the Class.
11                                    TOLLING ALLEGATIONS

12          27.     Plaintiffs and Class Members had no way of knowing about the Defect in the

13   Defective Vehicles and Defendants systematically misled Plaintiffs and Class Members

14   concerning the Defective Vehicles. To this day, Defendants claim there is no defect in the

15   Defective Vehicles.

16          28.     Defendants have repeatedly and consistently misled Plaintiffs and the Class by

17   engaging in extensive misdirection towards the Plaintiffs and the Class. Defendants knew about

18   the Defect, as early as when the car was designed, but did nothing to disclose the Defect.

19          29.     Additionally, the Defect is not readily apparent to the consumer. Plaintiffs and

20   the Class would only know about the Defect if they dismantled their vehicles’ steering columns

21   and inserted USB cables into the exposed USB interfaces, or if their cars were stolen. Even then,

22   they may not understand the nature of the Defect. Accordingly, the Defect may not be discovered

23   until several years after the vehicle was purchased or leased.

24          30.     Within the period of any applicable statutes of limitation, Plaintiffs and the other

25   Class Members could not have discovered through the exercise of reasonable diligence that

26   Defendants were concealing the Defect in the Defective Vehicles. It was only in 2022, when the

27   Defect was subject to media attention, that consumers became aware of the Defect. But, by this

28   point, Defendants had already removed the Defect from its vehicle lines.
                                                      6
     CLASS ACTION COMPLAINT
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 1             31.    All applicable statutes of limitation have been tolled by operation of the discovery

 2   rule and due to Defendants’ knowing and active fraudulent concealment.                 Additionally,

 3   Defendants should be estopped from relying on any statutes of limitations in defense of this

 4   action.

 5                                   CLASS ACTION ALLEGATIONS

 6             32.     Plaintiffs brings this action pursuant to Code of Civil Procedure, section 382,

 7   individually and on behalf of the following Class:

 8                                            The National Class
 9             During the fullest period allowed by law, all persons in the United States who
               purchased or leased any of the Defective Vehicles for personal use.
10
                                            The Michigan Subclass
11

12             During the fullest period allowed by law, all persons who purchased or leased
               any of the Products for personal use within the State of Michigan.
13
                                           The Oklahoma Subclass
14
               During the fullest period allowed by law, all persons who purchased or leased
15             any of the Products for personal use within the State of Oklahoma.
16
     Specifically excluded from the Class are Defendants, their officers, directors, agents, trustees,
17
     representatives, employees, principals, servants, partners, joint venturers or entities controlled by
18
     Defendants, and their heirs, successors, assigns, or other persons or entities related to or affiliated
19
     with Defendants and/or its officers and/or directors, the judgeassigned to this action and any member
20
     of the judge’s immediate family.
21
               33.     Plaintiffs reserve the right to amend the Class definitions above if further
22
     investigation and/or discovery reveals that the Class should be expanded, narrowed, divided into
23
     subclasses or otherwise modified in any way.
24
               34.    Certification of Plaintiffs’ claims for class-wide treatment is appropriate because
25
     Plaintiffs can prove the elements of their claims on a class-wide basis using the same evidence as
26
     would be used to prove those elements in individual actions alleging the same claims.
27
               35.    The members of the Class are so numerous that individual joinder of all Class
28
                                                        7
     CLASS ACTION COMPLAINT
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 1   Members is impracticable. On information and belief, Class Members number in the hundreds of

 2   thousands. The precise number or identification of members of the Class are presently unknown

 3   to Plaintiffs, but may be ascertained from Defendants’ books and records. Class Members may

 4   be notified of the pendency of this action by recognized, Court-approved notice dissemination

 5   methods, which may include U.S. mail, electronic mail, Internet postings, and/or published

 6   notice.

 7             36.    Common questions of law and fact exist as to all members of the Class, which

 8   predominate over any questions affecting individual members of the Class. These common
 9   questions of law or fact include, but are not limited to, the following:
10                    •       Whether Defendants manufactured the Defective Vehicles with the Defect;
11                    •       Whether the Defect makes the Defective Vehicles easy to steal, unsafe, and
12             worth less than they would be if they had not been Defective;
13                    •       Whether Defendants knowingly made misleading statements or omitted
14             material information in connection with consumer transactions that reasonable consumers
15             were likely to rely upon to their detriment;
16                    •       Whether the Defective Vehicles are subject to a written warranty;
17                    •       Whether the Defect is a breach of a written warranty;
18                    •       Whether the Defective Vehicles are fit for their intended use and are of

19             merchantable quality;

20                    •       Whether Defendant’s representations and omissions regarding the

21             Defective Vehicles were false and misleading;

22                    •       Whether Defendants’ acts and omissions violate California and/or Michigan

23             law;

24                    •       Whether Defendants’ acts and omissions violate federal law;

25                    •       Whether Plaintiffs and the Class Members suffered monetary damages, and,

26             if so, what the measure of those damages is;

27                    •       Whether Plaintiffs and the Class Members are entitled to an injunction,

28             damages, restitution, equitable relief, and other relief deemed appropriate, and, if so, the
                                                         8
     CLASS ACTION COMPLAINT
               Case MDL No. 3052 Document 23-3 Filed 09/19/22 Page 13 of 23




 1          amount and nature of such relief.

 2          37.     Defendants engaged in a common course of conduct giving rise to the legal rights

 3   sought to be enforced by Plaintiffs, on behalf of themselves and the other Class Members. Similar

 4   or identical statutory and common law violations, business practices, and injuries are involved.

 5   Individual questions, if any, pale by comparison, in both quality and quantity, to the numerous

 6   common questions that dominate this action.

 7          38.     Plaintiffs’ claims are typical of the claims of the other Class Members, as each

 8   Class Member was subject to the same omission of material fact and misrepresentations regarding
 9   the Defect in the Defective Vehicles. Plaintiffs share the aforementioned facts and legal claims
10   or questions with Class Members, and Plaintiffs and all Class Members have been similarly
11   affected by Defendants’ common course of conduct alleged herein. Plaintiffs and all Class
12   Members sustained monetary and economic injuries.
13          39.     Plaintiffs are adequate representatives of the Class because they are a member of
14   the Class and their interests do not conflict with the interests of the Class Members they seeks to
15   represent. Plaintiffs have also retained counsel competent and experienced in complex
16   commercial and class action litigation. Plaintiffs and their counsel intend to prosecute this action
17   vigorously for the benefit of all Class Members. Accordingly, the interests of the Class Members
18   will be fairly and adequately protected by Plaintiff and their counsel.

19          40.     Absent a class action, Class Members will continue to suffer the harm described

20   herein, for which they would have no remedy. Even if separate actions could be brought by

21   individual consumers, the resulting multiplicity of lawsuits would cause undue burden and

22   expense for both the Court and the litigants, as well as create a risk of inconsistent rulings and

23   adjudications that might be dispositive of the interests of similarly situated consumers,

24   substantially impeding their ability to protect their interests, while establishing incompatible

25   standards of conduct for Defendants.

26          41.     Defendants have acted or refused to act on grounds generally applicable to

27   Plaintiffs and all Class Members, thereby making appropriate final injunctive relief and

28   declaratory relief, as described below, with respect to the Class as a whole.
                                                      9
     CLASS ACTION COMPLAINT
               Case MDL No. 3052 Document 23-3 Filed 09/19/22 Page 14 of 23




 1          42.       A class action is superior to any other available means for the fair and efficient

 2   adjudication of this controversy, and no unusual difficulties are likely to be encountered in the

 3   management of this class action. The damages or other financial detriment suffered by Plaintiffs

 4   and the Class Members are relatively small compared to the burden and expense that would be

 5   required to individually litigate their claims against Defendants, so it would be impracticable for

 6   Class Members to individually seek redress for Defendants’ wrongful conduct. Even if Class

 7   Members could afford individual litigation, the court system could not. Individualized litigation

 8   creates a potential for inconsistent or contradictory judgments and increases the delay and expense
 9   to all parties and the court system. By contrast, the class action device presents far fewer

10   management difficulties, and provides the benefits of single adjudication, economy of scale, and

11   comprehensive supervision by a single court.

12                                        CAUSES OF ACTION

13                                             COUNT I
                      Violation of CAL. BUS. & PROF. CODE §§ 17200, et seq. -
14                          (On behalf of Plaintiffs and the National Class)
15          43.       Plaintiffs hereby incorporate by reference the allegations contained in the

16   preceding paragraphs of this Complaint.

17          44.       As more fully described above, Defendants misrepresented or omitted the true

18   nature of the Defect. Defendants’ misleading marketing and advertising is likely to, and does,

19   deceive reasonable consumers. Indeed, Plaintiffs were deceived about the Defect, as Defendants’

20   marketing and advertising of the Defective Vehicles misrepresents and/or omits the true nature of

21   the Defect. Said acts are fraudulent business practice and acts.

22          45.       Plaintiffs and other members of the Class who purchased or leased the Defective

23   Vehicles suffered a substantial injury by virtue of buying a product that misrepresented and/or

24   omitted the true nature of the Defect. Had Plaintiffs and members of the Class known that

25   Defendants’ materials, advertisements and other inducements misrepresented and/or omitted the

26   true nature of the Defect, they would not have purchased or leased the Defective Vehicles.

27          46.       Defendants’ actions alleged herein violate the laws and public policies of

28   California, Michigan, and the federal government, as set out in this Complaint.
                                                     10
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 1          47.       There is no benefit to consumers or competition by allowing Defendants to

 2   deceptively market, advertise, and sell the Defective Vehicles with the Defect.

 3          48.       Plaintiffs and Class Members who purchased or leased the Defective Vehicles

 4   had no way of reasonably knowing that these Vehicles were deceptively marketed and advertised

 5   and/or were defective. Thus, Class Members could not have reasonably avoided the injury they

 6   suffered.

 7          49.       The gravity of the harm suffered by Plaintiffs and Class Members who purchased

 8   or leased the Defective Vehicles outweighs any legitimate justification, motive or reason for
 9   marketing and advertising the Defective Vehicles in a deceptive and misleading manner and/or

10   allow vehicles to be sold with the undisclosed Defect. Accordingly, Defendants’ actions are

11   immoral, unethical, unscrupulous and offend the established public policies as set out in federal

12   regulations and are substantially injurious to Plaintiffs and Class Members

13          50.       The above acts by Defendants, in disseminating said misleading and deceptive

14   statements throughout the State of California and nation-wide to consumers, including Plaintiffs

15   and members of the Class, were and are likely to deceive reasonable consumers by obfuscating the

16   true nature the Defect, and thus were violations of Cal. Bus. Prof. Code §§ 17500, et seq.

17          51.       The conduct alleged herein emanated from Defendants’ California based

18   Headquarters to consumers within the State of California and throughout the United States.

19          52.       As a result of Defendants’ above unlawful, unfair and fraudulent acts and

20   practices, Plaintiffs, on behalf of himself and all others similarly situated, and as appropriate, on

21   behalf of the general public, seeks injunctive relief prohibiting Defendants from continuing these

22   wrongful practices or requiring Defendants to repair the Defect, and such other equitable relief,

23   including rescission or full restitution of all improper revenues and ill-gotten profits derived from

24   Defendants’ wrongful conduct to the fullest extent permitted by law.

25                                            COUNT II
                      Violation of CAL. BUS. & PROF. CODE §§ 17500, et seq. -
26                          (On behalf of Plaintiffs and the National Class)
27          53.       Plaintiffs hereby incorporate by reference the allegations contained in the

28   preceding paragraphs of this Complaint.
                                                      11
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 1          54.       As more fully described above, Defendants misrepresented or omitted the true

 2   nature of the Defect. Defendants’ misleading marketing and advertising is likely to, and does,

 3   deceive reasonable consumers. Indeed, Plaintiffs was deceived about the Defect, as Defendants’

 4   marketing and advertising of the Defective Vehicles misrepresents and/or omits the true nature of

 5   the Defect. Said acts are fraudulent business practice and acts.

 6          55.       Plaintiffs and other members of the Class who purchased or leased the Defective

 7   Vehicles suffered a substantial injury by virtue of buying a product that misrepresented and/or

 8   omitted the true nature of the Defect. Had Plaintiffs and members of the Class known that
 9   Defendants’ materials, advertisement and other inducements misrepresented and/or omitted the

10   true nature of the Defect, they would not have purchased or leased the Defective Vehicles.

11          56.       The above acts by Defendants, in disseminating said misleading and deceptive

12   statements throughout the State of California and nation-wide to consumers, including Plaintiffs

13   and members of the Class, were and are likely to deceive reasonable consumers by obfuscating the

14   true nature the Defect, and thus were violations of Cal. Bus. Prof. Code §§ 17500, et seq.

15          57.       The conduct alleged herein emanated from Defendants’ California based

16   Headquarters to consumers within the State of California and throughout the United States.

17          58.       As a result of Defendants’ above unlawful, unfair and fraudulent acts and

18   practices, Plaintiffs, on behalf of himself and all others similarly situated, and as appropriate, on

19   behalf of the general public, seeks injunctive relief prohibiting Defendants from continuing these

20   wrongful practices or requiring Defendants to repair the Defect, and such other equitable relief,

21   including rescission or full restitution of all improper revenues and ill-gotten profits derived from

22   Defendants’ wrongful conduct to the fullest extent permitted by law.

23                                           COUNT III
                                     Breach of Express Warranty
24        (On behalf of Plaintiffs and the National Class, or alternatively the Michigan and
                                         Oklahoma Subclass )
25
            59.       Plaintiffs hereby incorporate by reference the allegations contained in the
26
     preceding paragraphs of this Complaint.
27
            60.       Due to its nature, the UCC renders warranty law largely uniform in the U.S. See
28
                                                      12
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 1   Shaw v. Toshiba Am. Info. Sys., Inc., 91 F. Supp. 2d 942, 957 (E.D. Tex. 2000).

 2             61.    Upon information and belief, in the course of selling its vehicles, Defendants

 3   expressly warranted in writing that “it will arrange for an authorized [ ] dealer at locations of its

 4   choice to provide for the repair of your vehicle if it fails to function properly during normal use.”

 5   Defendants warrant that “all components of your new [ ] Vehicle are covered for 60 months/60,000

 6   miles.”

 7             62.    Defendants breached their express warranties for the Defective Vehicles by,

 8   among other things, selling or leasing to Class Members Defective Vehicles that are not free of
 9   material defects; they contain the Defect, rendering the Vehiclesfar easier to steal than other

10   vehicles, and are therefore unsafe and worth less than if they not had the Defect.

11             63.    Defendants were provided notice of these issues by complaints filed against them,

12   including the instant Complaint, and, upon information and belief, by numerous communications

13   sent by customers before or within a reasonable amount of time after the allegations of the vehicles’

14   Defect became public.

15             64.    Due toDefendants’ breach of warranties as set forth herein, Plaintiffs and the

16   Class have been damaged in the amount of the different purchase prices of the Defective Vehicles

17   with the Defect and a vehicle without the Defect. Plaintiffs and the Class also assert as an

18   additional and/or alternative remedy, as set forth in U.C.C. §§ 2-608 and 2-711, for a revocation

19   of acceptance of the goods, and for a return to Plaintiffs and to the Class of the purchase price of

20   all vehicles currently owned and for such other incidental and consequential damages as allowed

21   under U.C.C. §§ 2-608 and 2-711.

22                                           COUNT IV
                                     Breach of Implied Warranty
23        (On behalf of Plaintiffs and the National Class, or alternatively the Michigan and
                                         Oklahoma Subclass )
24
               65.    Plaintiffs hereby incorporates by reference the allegations contained in the
25
     preceding paragraphs of this Complaint.
26
               66.    Due to its nature, the UCC renders warranty law largely uniform in the U.S. See
27
     Shaw v. Toshiba Am. Info. Sys., Inc., 91 F. Supp. 2d 942, 957 (E.D. Tex. 2000).
28
                                                      13
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 1          67.       Defendants are and at all relevant times were merchants with respect to motor

 2   vehicles under U.C.C. § 2-314.        Defendants, by selling the Defective Vehicles, impliedly

 3   warranted that the Vehicles were merchantable with respect to goods of that kind.

 4          68.       Similarly, Defendants, by selling the Defective Vehicles, impliedly warranted that

 5   the Vehicles were fit for their particular purpose, to be a safe and reliable means of conveyance

 6   under U.C.C. § 2-315. Plaintiffs and the Class reasonably relied on Defendants’ skill or judgment

 7   in furnishing a vehicle with sufficient and suitable safety features.

 8          69.       The Defective Vehicles sold by Defendants and purchased by Plaintiffs did not
 9   conform with the implied warranties, which are applicable by application of law. Specifically, by

10   failing to reasonably disclose the Defect, Defendants implied that the Defective Vehicles were not

11   far easier to steal than other vehicles, were thereby safe, and were worth as much as vehicles

12   without the Defect.

13          70.       As a result of having the Defect, the Defective Vehicles were not merchantable

14   or fit for their particular purpose and Defendants breached their implied warranty of

15   merchantability and fitness for particular purpose with respect to the Defective Vehicles.

16          71.       Due to the Defendants’ breach of warranties as set forth herein, Plaintiffs and the

17   Class have been damaged in the amount of the different purchase price of the Defective Vehicles

18   with the Defect and a vehicle without the Defect.

19                                            COUNT V
               Violation Of Magnuson-Moss Warranty Act - 15 U.S.C. § 2301, et seq.
20        (On behalf of Plaintiffs and the National Class, or alternatively the Michigan and
                                         Oklahoma Subclass )
21
            72.       Plaintiffs hereby incorporate by reference the allegations contained in the
22
     preceding paragraphs of this Complaint.
23
            73.     The Defective Vehicles are consumer products as defined in 15 U.S.C. § 2301(1).
24
            74.     Plaintiffs and Class Members are consumers as defined in 15 U.S.C. § 2301(3)
25
     and utilized the Defective Vehicles for personal and household use and not for resale or
26
     commercial purposes.
27
            75.     Plaintiffs and Class Members purchased or leased the Defective Vehicles costing
28
                                                      14
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 1   more than $5 and their individual claims are greater than $25 as required by 15 U.S.C. §§ 2302(e).

 2          76.      Defendants are a supplier and warrantor as defined in 15 U.S.C. §§ 2301(4) and

 3   (5).

 4          77.      Defendants provided a “written warranty” within the meaning of 15 U.S.C.

 5   2301(6) for the Defective Vehicles.

 6          78.      The MMWA provides a cause of action for breach of warranty, including the

 7   violation of express warranty and implied warranties, or other violations of the Act. 15 U.S.C. §

 8   2310(d)(1).
 9          79.      Defendants violated the express and implied warranties because the Defective
10   Vehicles contained the Defect as alleged above.
11          80.      In its capacity as warrantor, and by the conduct described herein, any attempt by
12   Defendants to limit the warranties in a manner that it does is not permitted by law.
13          81.      By Defendants’ conduct as described herein, Defendants have failed to comply
14   with its obligations under its implied promises, warranties, and representations.
15          82.      Plaintiffs and the Class fulfilled their obligations under the express warranties for
16   the Products.
17          83.      As a result of Defendants’ breach of warranties, Plaintiffs and the Class are
18   entitled to revoke their acceptance of the Defective Vehicles and/or are entitled to recover

19   “damages and other legal and equitable relief” and “costs and expenses (including attorneys’ fees

20   based upon actual time expended)” as provided in 15 U.S.C. § 2310(d).

21                                             COUNT VI
                                 Violation of M.C.L. §§ 445.901, et seq
22                   (On behalf of Plaintiff DesJardins and the Michigan Subclass)
23          84.       Plaintiff DesJardins hereby incorporates by reference the allegations contained in

24   the preceding paragraphs of this Complaint.

25          85.       Plaintiff DesJardins and Defendants are persons as defined by M.C.L. §

26   445.902(d).

27          86.       Defendants engaged in trade or commerce, as defined by M.C.L. § 445.902(g),

28   by advertising, soliciting, providing, offering, or distributing the Defective Vehicles within the
                                                      15
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 1   State of Michigan.

 2          87.       As more fully described above, Defendants misrepresented or omitted the true

 3   nature of the Defect. Defendants’ misleading marketing and advertising is likely to, and does,

 4   deceive reasonable consumers. Indeed, Plaintiff DesJardins was deceived about the Defect, as

 5   Defendants’ marketing and advertising of the Defective Vehicles misrepresents and/or omits the

 6   true nature of the Defect.

 7          88.       Plaintiff DesJardins and other members of the Michigan Subclass who purchased

 8   or leased the Defective Vehicles suffered a substantial injury by virtue of buying a product that
 9   misrepresented and/or omitted the true nature of the Defect. Had Plaintiff and members of the

10   Michigan Subclass known that Defendants’ materials, advertisement and other inducements

11   misrepresented and/or omitted the true nature of the Defect, they would not have purchased or

12   leased the Defective Vehicles.

13          89.       The above acts by Defendants, in disseminating said misleading and deceptive

14   statements throughout the State of Michigan to consumers, including to Plaintiff and members of

15   the Michigan Subclass, were and are likely to deceive reasonable consumers by obfuscating the

16   true nature the Defect, and thus were violations of M.C.L. § 445.903(1) (c), (e), (s), and (cc)

17          90.       As a result of Defendants’ conduct, Plaintiff DesJardins and Michigan Subclass

18   Members were harmed and suffered actual damages as a result of Defendants’ unfair,

19   unconscionable, or deceptive methods, acts, or practices. Had Defendants disclosed the true nature

20   of the Defect, Plaintiff would not have been misled into purchasing the Defective Vehicles, or,

21   alternatively, would have paid significantly less for them.

22          91.       Plaintiff DesJardins , on behalf of himself and all other similarly situated

23   Michigan consumers, and as appropriate, on behalf of the general public of the State of Michigan,

24   seeks damages, as well as declarative and injunctive relief prohibiting Defendants from continuing

25   these unlawful practices pursuant to M.C.L. § 445.911.

26          92.       As a result of Defendants’ above unfair, unconscionable, or deceptive methods,

27   acts, or practices, Plaintiff DesJardins , on behalf of himself and all others similarly situated, and

28   as appropriate, on behalf of the general public of the State of Michigan, seeks an award of the
                                                      16
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 1   actual damages caused by Defendants’ unfair, unconscionable, or deceptive methods, acts, or

 2   practices and any other relief the Court deems appropriate.

 3                                             COUNT VII
                                   Violation of 15 OK. Stat. § 15-751
 4                     (On behalf of Plaintiff Baker and the Oklahoma Subclass)
 5          93.       Plaintiff Baker hereby incorporates by reference the allegations contained in the

 6   preceding paragraphs of this Complaint.

 7          94.       Defendants are persons as defined by 15 OK. Stat. § 15-752(1).

 8          95.       Defendants’ advertisement, offer of sale, sale, warranty, and distribution of the
 9   Defective Vehicles constitute a “consumer transaction” as defined by 15 OK. Stat. § 15-752(2).

10          96.       As more fully described above, Defendants misrepresented or omitted the true

11   nature of the Defect. Defendants’ misleading marketing and advertising is likely to, and does,

12   deceive reasonable consumers. Indeed, Plaintiff Baker was deceived about the Defect, as

13   Defendants’ marketing and advertising of the Defective Vehicles misrepresents and/or omits the

14   true nature of the Defect.

15          97.       Plaintiff Baker and other members of the Oklahoma Subclass who purchased or

16   leased the Defective Vehicles suffered a substantial injury by virtue of buying a product that

17   misrepresented and/or omitted the true nature of the Defect. Had Plaintiff and members of the

18   Oklahoma Subclass known that Defendants’ materials, advertisement and other inducements

19   misrepresented and/or omitted the true nature of the Defect, they would not have purchased or

20   leased the Defective Vehicles.

21          98.       The above acts of Defendants, in disseminating said misleading and deceptive

22   statements throughout the State of Oklahoma to consumers, including Plaintiff Baker and members

23   of the Oklahoma Subclass, were and are likely to deceive reasonable consumers by obfuscating

24   the true nature the Defect, and thus were violations of 15 OK. Stat. § 15-753(5) (7), (8), and (20)

25          99.       As a result of Defendant's conduct, Plaintiff Baker and Oklahoma Subclass

26   members were harmed and suffered actual damages as a result of Defendants’ unfair,

27   unconscionable, or deceptive methods, acts, or practices. Had Defendants disclosed the true nature

28   of the Defect, Plaintiff would not have been misled into purchasing the Defective Vehicles, or,
                                                     17
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 1   alternatively, paid significantly less for them.

 2           100.       Plaintiff Baker, on behalf of herself and all other similarly situated Oklahoma

 3   consumers, and as appropriate, on behalf of the general public of the State of Oklahoma, seeks

 4   damages, as well as declarative and injunctive relief prohibiting Defendants from continuing these

 5   unlawful practices pursuant to 15 OK. Stat. §15-761.1.

 6           101.       As a result of Defendants’ above unfair, unconscionable, or deceptive methods,

 7   acts, or practices, Plaintiff, on behalf of herself and all others similarly situated, and as appropriate,

 8   on behalf of the general public of the State of Oklahoma, seeks an award of the actual damages
 9   caused by Defendants’ unfair, unconscionable, or deceptive methods, acts, or practices and any

10   other relief the Court deems appropriate.

11                                          PRAYER FOR RELIEF

12           WHEREFORE, Plaintiff, individually and on behalf of a Class of all others similarly

13   situated, seek a judgment against Defendant, as follows:

14            a.     For an order certifying the Class and naming Plaintiff as Class representative and

15                   Plaintiff’s attorneys as Class Counsel;

16            b.     For an order declaring that Defendants’ conduct violates the statutes referenced

17                   herein;

18            c.     For an order finding in favor of Plaintiff and the Class on all counts asserted herein;

19            d.     For compensatory, statutory, and punitive damages, as applicable, in amounts to be

20                   determined by the Court and/or jury;

21            e.     For prejudgment interest on all amounts awarded;

22            f.     For an order of restitution and all other forms of equitable relief;

23            g.     For injunctive relief as pleaded or as the Court may deem proper; and

24            h.     For an order awarding Plaintiff and the Class their reasonable attorneys’ fees,

25                   expenses and costs incurred in bringing this lawsuit.

26                                        JURY TRIAL DEMANDED

27           Plaintiff demands a trial by jury of any and all issues in this action so triable as of right.

28
                                                         18
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 1   Dated: August 25, 2022              Respectfully submitted,

 2

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25

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27

28
                                           19
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